            Case 1:22-cr-00096-CKK Document 1 Filed 03/24/22 Page 1 of 8




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Holding a Criminal Term
                          Grand Jury Sworn in on February 15, 2022

UNITED STATES OF AMERICA          :                  CRIMINAL NO.
                                  :
           v.                     :                  VIOLATIONS:
                                  :
LAUREN HANDY,                     :                  COUNT 1: 18 U.S.C. § 241
                                  :                  (Conspiracy Against Rights)
JONATHAN DARNEL,                  :
                                  :                  COUNT 2: 18 U.S.C. §§ 248(a)(1), 2
JAY SMITH (aka JUANITO PICHARDO), :                  (Clinic Access Obstruction)
                                  :
PAULA “PAULETTE” HARLOW,          :
                                  :
JEAN MARSHALL,                    :
                                  :
JOHN HINSHAW,                     :
                                  :
HEATHER IDONI,                    :
                                  :
WILLIAM GOODMAN, and              :
                                  :
JOAN BELL,                        :
                                  :
           Defendants.            :

                                        INDICTMENT
       The Grand Jury for the District of Columbia charges that at times material to this indictment,

on or about the dates and at the approximate times stated below:

                                           Introduction

       1.      The Clinic was a provider of women’s reproductive health services, including

abortions, in the District of Columbia. The Clinic provided services on an appointment-only basis.

       2.      The following individuals conspired with one another and with others known and

unknown to obstruct access to the Clinic on October 22, 2020:
Case 1:22-cr-00096-CKK Document 1 Filed 03/24/22 Page 2 of 8
Case 1:22-cr-00096-CKK Document 1 Filed 03/24/22 Page 3 of 8
Case 1:22-cr-00096-CKK Document 1 Filed 03/24/22 Page 4 of 8
Case 1:22-cr-00096-CKK Document 1 Filed 03/24/22 Page 5 of 8
Case 1:22-cr-00096-CKK Document 1 Filed 03/24/22 Page 6 of 8
Case 1:22-cr-00096-CKK Document 1 Filed 03/24/22 Page 7 of 8
Case 1:22-cr-00096-CKK Document 1 Filed 03/24/22 Page 8 of 8
